     Case 3:18-cv-00461-RCJ-WGC Document 47 Filed 05/24/19 Page 1 of 4




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   Attorney for the Plaintiff
 5

 6                           UNITED STATES DISTRICT COURT
 7                                    DISTRICT OF NEVADA
 8                                              ***
 9    MICHAEL ERWINE,
10                       Plaintiff,                   Case No.: 3:18-cv-00461-RCJ WGC
      vs.
11
      CHURCHILL COUNTY, a political
12    subdivision of the State of Nevada; and         NOTICE OF APPEAL
      DOES 1 through 10 inclusive;
13
                       Defendants.
14    _____________________________________/
15

16          Notice is hereby given that MICHAEL ERWINE, Plaintiff in the above-named

17 case, hereby appeals to the United States Court of Appeals for the Ninth Circuit from

18 the Order entered in this action on May 21, 2019, attached hereto as Exhibit 1.
19                           REPRESENTATION STATEMENT

20          The undersigned represents Plaintiff MICHAEL ERWINE and no other party.

21 Pursuant to Rule 12(b) of the Federal Rules of Appellate Procedure and Circuit Rule

22 3-2(b), Plaintiffs-Appellants submit this Representation Statement. The following list

23 identifies all parties to the action, and it identifies their respective counsel by name,

24 firm, address, telephone number, and e-mail, where appropriate:

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     Case 3:18-cv-00461-RCJ-WGC Document 47 Filed 05/24/19 Page 2 of 4




 1         Plaintiff

 2         MICHAEL ERWINE

 3         Counsel of Record:

 4
           Luke Busby, Esq.
 5
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 6         Reno, Nevada 89501
           (775) 453-0112 (Dial Area Code)
 7         (775) 403-2192 (Fax)
 8         www.lukeandrewbusbyltd.com
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 9

10
           Defendants
11         CHURCHILL COUNTY, a political subdivision of the State of Nevada; and DOES
           1 through 10 inclusive
12
           Counsel of Record:
13

14
           Katherine F. Parks, Esq.
15         Thorndal Armstrong Delk Balkenbush & Eisinger
           6590 S. McCarran Blvd. Suite B.
16         Reno, NV 89509
17         (775) 786-2882 (phone)
           (775) 786-8004 (fax)
18         kparks@thorndal.com
19
           Attorney for the Defendant
20
           DATED this Friday, May 24, 2019
21

22
                                         By:______________________________
23                                         LUKE BUSBY, ESQ.
                                           NEVADA STATE BAR NO. 10319
24                                         316 CALIFORNIA AVE #82
25                                          RENO, NV 89509
                                           775-453-0112
26                                         LUKE@LUKEANDREWBUSBYLTD.COM
                                           ATTORNEY FOR PLAINTIFF
27

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                                             2
     Case 3:18-cv-00461-RCJ-WGC Document 47 Filed 05/24/19 Page 3 of 4




 1                                    EXHIBITS
 2
        1. MAY 21, 2019 ORDER
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     Case 3:18-cv-00461-RCJ-WGC Document 47 Filed 05/24/19 Page 4 of 4




 1                                CERTIFICATE OF SERVICE

 2

 3          Pursuant to FRCP 5, I certify that on the date shown below, I caused service to

 4 be completed of a true and correct copy of the foregoing pleading by:

 5
     ______       personally delivering;
 6
     ______       delivery via Reno/Carson Messenger Service;
 7

 8 ______         sending via Federal Express (or other overnight delivery service);

 9 ______         depositing for mailing in the U.S. mail, with sufficient postage affixed
10                thereto; or,

11      X         delivery via electronic means (fax, eflex, NEF, etc.) to:
12
                        Katherine F. Parks, Esq.
13                      Thorndal Armstrong
                        6590 S. McCarran Blvd. Suite B.
14                      Reno, NV 89509
15                      Attorney for the Defendant

16                DATED this Friday, May 24, 2019
17
                                                    By:___________________________
18                                                  LUKE BUSBY, ESQ.
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